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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiffs,                            4:17CR3024
      vs.

RAUL AMEZCUA,                                               ORDER

                  Defendant.

      Defendant has moved to continue Defendant’s change of plea hearing.
(Filing No. 48). As explained by defense counsel, he has had difficulty finding an
interpreter to review the paperwork with the defendant. The motion to continue is
unopposed. Based on the representations of counsel, the court finds the motion
should be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant’s motion to continue, (Filing No. 48), is granted.

      2)    Defendant's plea hearing will be held before the undersigned
            magistrate judge on September 21, 2017 at 3:00 p.m. Defendant is
            ordered to appear at this hearing.

      3)    For the reasons stated by counsel, the Court finds that the ends of
            justice served by continuing Defendant's plea hearing outweigh the
            best interest of Defendant and the public in a speedy trial.
            Accordingly, the time between today's date and the district court
            judge's acceptance or rejection of the anticipated plea of guilty shall
            be excluded for speedy trial calculation purposes. 18 U.S.C. §
            3161(h)(7). Failing to timely object to this order as provided under
            this court’s local rules will be deemed a waiver of any right to later
            claim the time should not have been excluded under the Speedy
            Trial Act.

      August 16, 2017.
                                            BY THE COURT:
                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
